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ETWENTY-NINTH JUDICIAL DISTRICT COURT
PARISH OF ST. CHARLES
STATE OF LOUISIANA

ItemiNo.: 2000381
JPSO A-15489-20

SEARCH WARRANT

‘TO: THE SHERIFF, PARISH OF ST. CHARLES AND/OR HIS DESIGNATED

‘REPRESENTATIVE(S):

AFFIDAVIT(S) HAVING BEEN MADE BEFORE ME by Captain Renee Kinler .
Of the ST. CHARLES PARISH SHERIFE’S OFFICE, that she has good reason to believe
that on or in Destrehan High School #1 Wildcat Lane Destrehan, LA 70047° :

” Located within the Parish of St. Charles, State.of Louisiana, there is now being concealed certain

5 property, namely Any and all Destrehan High School records associated with Etic Parsa, to include’ the
- following: the documented plan of care, including all protocols and procedures; disciplinary notes: and reports,
including all incidents of violence or documented behavioral reports.

‘y Any aud all Destreban High School records associated with Eric Parsa relative to his courses of study, including
:prades, progress reports and all associated notes.

a Complete list of all teachers, para-teachers and support staff assigned to the care and monitoring of Eric Parsa
‘while on: schoolgrounds and /or on any school buses/ vehicles.

Any video. surveillance footage related to Eric Parsa in his assigned classroom or any classroom utilized for his
care and-monitoring. :

Any video surveillance footage of Eric Parsa relative to any outbursts or violent behavior.

Access to any ahd all areas, rooms or classrooms utilized for the care and monitoring Of Eric Parsa for purposes
of generalized law enforcement inspection and acquisition of documentary photographs.

Access to any and-all equipment, restraints or other devices utilized in the care and monitoring of Eric Parsa for
purposes‘of generalized law enforcement inspection and acquisition of documentary photographs.

Which said property constitutes evidence of the violation ofa pending death investigation and as I am
satisfied from the affidavit(s) submitted in support of the application for this warrant that there is
probable cause to believe that the aforesaid property is being concealed on or in the

above described, and that the aforesaid grownds for the issuance of this search warrant exists.

YOU ARE HEREBY ORDERED to search forthwith the aforesaid school campus (Destreban
High School) for the property specified, serving this search warrant and making the search during the
daytime. (It may become necessary to serve this search warrant during the nighttime: or on Sunday, and
affiant will request authorization in the warrant application.) If the property be found there, to seize it,
leaving a copy of this warrant and a-receipt for the property seized, to:make your written return on this
warrant including a written inventory of the property seized, and to bring the said seized property before

me within ten (10) days of this date as required by law. L

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ATE OF 1D ISIANA
COPIES: |
Original: Clerk of Cout :

Judge signing warrant

Person upon whom warrant is served ~

District Attorney

St. Charles Parish Sheriff's Office
‘Records Division

EXHIBIT

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Case 2:21-cv-00080-WBV-DPC Document 93-4 Filed 08/10/22 Page 23 of 30

IN THE 29TH JUDICIAL DISTRICT COURT
PARISH OF ST. CHARLES
STATE OF LOUISIANA

Item No.: 2000381
JPSO Item # A-15489-20

APPLICATION FOR AND SWORN PROOF OF PROBABLE CAUSE FOR THE
ISSUANCE OF
A SEARCH WARRANT HEREIN

BEFORE ME, THE UNDERSIGNED JUDGE OF THE 29TH JUDICIAL DISTRICT COURT, PARISH: OF
ST. CHARLES, STATE OF LOUISIANA, PERSONALLY CAME AND APPEARED: CAPTAIN RENEE '
KINLER EMPLOYED BY THE ST. CHARLES PARISH SHERIFY’S OFFICE, P.O. BOX 426, HAHNVILLE,
LOUISIANA. WHO, AFTER BEING DULY SWORN BY ME, DID DEPOSE AND SAY:

THAT A SEARCH WARRANT SHOULD BE ISSUED FOR THE SEARCH OF THE FOLLOWING
DESCRIBED PREMISES.

Municipal Number: #1 Wildcat Lane Destrehan, LA (Destrehan High School is a public secondary school
located on the east bank of St. Charles Parish comprised of several buildings located on the school campus.)

Type of Occupancy: Public High School
Structure: Public High School
Number of Stories: Apartment Number:

FOR THE PURPOSE OF SEIZING THE FOLLOWING DESCRIBED PROPERTY: Any and all Destreban
High School records associated with Es PYM to include the following: the documented plan of care,
including all protocols and procedures; disciplinary notes and reports, including all incidents of violence or
documented behavioral reports.

Any and all Destrehan High School records associated with Eg P@HE relative to his courses of study, including
grades, progress reports and all associated notes.

Complete list of all teachers, para-teachers and support staff assigned to the care and monitoring of Rg Pall
while on school grounds and /or on any schoo! buses/ vehicles.

Any video surveillance footage related to HP {fin his assigned classroom or any classroom utilized for his
care and monitoring.

Any video surveillance footage of Eric Parsa relative to any outbursts or violent behavior.

Access to any and all areas, rooms or classrooms utilized for the care and monitoring of Eq]? ij for purposes
of generalized law enforcement inspection and acquisition of documentary photographs.

Access to any and all equipment, restraints or other devices utilized in the care and monitoring of Ej Pggfor
purposes of generalized Jaw enforcement inspection and acquisition of documentary photographs.

THE REASONS AND FACTS FOR THIS REQUEST OF THIS SEARCH WARRANT ARE: On Sunday,
January 19, 2020 at approximately 1:29pm, members of the Jefferson Parish Sheriff's Office responded to a disturbance
at Laser Tag of Metairie located at 8855 Veterans Boulevard in Metairie, Louisiana. This disturbance was in reference to
a physical altercation involving two white males in front of the above business. Upon arrival, the initial responding
deputy observed a large younger white male physically attacking an older white male by striking and biting the older
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male, Peete his aay DADRA BY DEG, RRSUREY Bofna TSG Q/ 40h Fungo Zo wie ge son, Eq Pa.

who has autism, and the older male, Daren Parsa, is her husband and the father of Era

As the initial responding deputy attempted to intervene in the altercation, Eg attacked the deputy, whom
he struck in the head/torso area and bit on the leg. With the assistance of additional responding deputies, Ha was
restrained and handcuffed. In addition to the bite sustained by the deputy, Daren Parsa sustained lacerations to the head
and arms, as well as a bites to the chin, arms, hands, fingers, and legs. EMS was requested to the scene for the injuries to
the deputy and Daren Parsa. Prior to the arrival of EMS, deputies observed that EM] Pijjappeared unresponsive and, as
such, CPR was initiated until EMS assumed medical control. EMP Ql was transported by ambulance to East Jefferson
General Hospital where he subsequently expired. Eq] PMs remains were later transferred to the Jefferson Parish
Coroner's Office pending autopsy.

During the ensuing scene investigation, several witnesses provided a consistent account of Hl PB tacking
his father in the Laser Tag parking lot for several minutes before attacking the first deputy on scene. Video surveillance
footage from Laser Tag confirmed witness accounts of the attacks, which did in fact continue for several minutes.: The
video footage also captured the actions of first responders as related to the restraining of Ef PI Review of said
footage does not reveal first responders striking or employing any restrictive techniques to EP Iggmp head or neck and,
given his large size, two pair of handcuffs were utilized to avoid undue compromise or injury.

After hospitalization and treatment, Daren Parsa provided an account of the incident, as did his wife, Donna Lou.
Their accounts were generally consistent with that of the independent witnesses and surveillance footage. Both parents
self-identified as psychiatrists and offered historical information identifying HE PH as autistic with ‘intermittent
explosive disorder’. According to his parents, their son periodically exhibited violent outbursts and would then become
physically aggressive with either or both.
The parents confirmed residing in Destrehan with their son. Investigators independently established that 16 year-old Ej
PYM attends Destrehan High School where he receives care and monitoring of a special-needs student. Additional
investigative efforts revealed Eqggy PI attacked his father in July of 2019 in St. Charles Parish wherein Daren Parsa
sustained lacerations and bites documented by the St. Charles Parish Sheriff's Office.

Pending the findings at autopsy and a definitive cause of death, investigators are currently seeking any and all
information relative to Eggs physical and mental health status and diagnoses in conjunction with his daily school
routines and any and all precautionary requirements associated with school attendance. Initial contact with the Destrehan
High School resource officer revealed Egg? ggggghas a history of violent outbursts and an array of safety protocols are in
place to protect PI, other students and school staff.

Pursuant to the totality on circumstances, Sergeant Keith Dowling of the Jefferson Parish Sheriff's Office is
seeking any and all relevant Destrehan High School documents and safety protocols associated with EP4yggand his
attendance at the school, to include all prior events and incidents of violence. Investigators are additionally seeking to
inspect and photographically document any areas, rooms or classrooms utilized for the care and monitoring coupled
with any and all equipment, restraints or other devices utilized in the care, monitoring and transportation of
PEE Moreover, investigators are seeking acquisition of any and all school surveillance footage of said areas,
rooms, classrooms and transportation vehicles along with equipment, restraints or other devices.

Sp hk Pas FIN
7 AFFIANT

\
CO AFFIANT

SWORN TO AND SUBSCRIBED BEFORE ME THIS 2) DAY OE 2020
AT HAuni vis" , LOUISIANA
COPIES:
ORIGINAL; Clerk of Court

Judge signing warrant

District Attorney Office

St. Charles Sheriff's Office Record Division

Case Officer
b-2z00 OSdr

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RETURN ON SEARCH WARRANT SCSD 2000>% 1
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1, THE UNDERSIGNED MEMBER OF THE ST. CHARLES PARISH SHERIFF'S OFFICE, EXECUTED
THE FOREGOING SEARCH WARRANT AS FO.
I SEARCHED THE_\S Do dee how A Se \wol DESCRIBED IN

THE FOLLOWING IS AN INVENTORY OF PROPERTY SEIZED PURSUANT TO THE SAID

FOREGOING SEARCH WARRANT:
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YR Ar

LOUISIANA.

BADGE
ST. CHARLES PARISH SHERIFF'S OFFICE

Original: Clerk of Court
Copies: Judge signing warrant
: Person upon whom warrant is served
: District Antorncy
: St. Charles Parish Sheriff's Office
Records Division
%+2200 OSdr

Case 2:21-cv-00080-WBV-DPC Document 93-4 Filed 08/10/22 Page 26 of 30

ae | ST. CHARLES PARISH SHERIFFS OFFICE
et

ee 260 Judge Edward Dnfresae Parkway
i Luliag, Lenisiane 70070
i ‘Telephone (985) 783-1280
Poo
Property / Evidence Transfer Receipt Printed on February 7, 2020
Transfer Date 02/07/20 11:28

Transfer Comments JPSO Detective Keith Downing

Item # SOINT2000381 -002
Category Evidence

Description 2 white boxes containing DHS student records Hikvision DVR ser#DS7204HGHI-SH
Owner

Article Type Other

Article Subtype Other Items Not Listed
Article Make

Article Model

Article Color

Quantity 2

Serial #

Value

Collected By Kinler, Renee
Access Tag

Date Collected 02/07/20 10:47

Collected Location Destrehan Hign School
Target Disp. Date

Subjects

Comments

Signed Date 2-7- 202-3

Transferred By: Kevin Hollingsworth

sined SALI eT) pate (D-I7-Z0

Received By: JPSO

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